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                                                                                                                           May 8 2006

                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                                  MIAMI DIVISION

                                                          IN ADMIRALTY

             MARKEL AMERICAN                                                CASE NO: 05-CV-10070-
             INSURANCE COMPANY,                                                 MOORE/GARBER

                     Plaintiff

             vs.

             ROBERT STOKY, RUTH STOKY,
             SCOTT STOKY, and MARLENA AVERY,

                  Defendants
             _________________________________________

                      DEFENDANT MARLENA AVERY’S MEMORANDUM OF
                       LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                        SUMMARY JUDGMENT AND IN SUPPORT OF CO-
                   DEFENDANTS STOKYS’ MOTION FOR SUMMARY JUDGMENT1

                                                              Introduction

                     Markel filed the instant declaratory action under this court’s admiralty

             jurisdiction (Complaint ¶ 3). Markel seeks a declaration that its policy of marine

             insurance affords no coverage for a single vessel boating accident, involving a vessel

             owned by Robert and Ruth and operated by Scott at the time of the accident


             1        The following symbols and designations will be used in this memorandum. Plaintiff Markel American
             Insurance Company shall be referred to as “Markel.” Defendants Robert Stoky, Ruth Stoky and Scott Stoky shall be
             collectively referred to as “The Stokys” and shall be individually referred to by their first name. Defendant Marlena
             Avery shall be referred to as “Avery.” The exhibits to Markel’s Motion for Summary Judgment shall be referred to by

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             (Complaint ¶30). Avery was a passenger in the vessel at the time of the accident.

             Markel contends that the “illegal act” exclusion contained within the policy voids

             coverage under the policy for the accident because Scott operated the vessel while

             legally intoxicated and as a result was adjudicated guilty of a first degree

             misdemeanor. Markel has moved for summary judgment contending the “illegal act”

             exclusion voids coverage for the accident. The Stokys have moved for summary

             judgment contending the “illegal act” exclusion is ambiguous and renders coverage

             illusory under the policy. The parties have stipulated to the material facts. For the

             reasons which follow, the “illegal act” exclusion does not bar coverage for the

             accident. Avery joins in the Stokys’ motion and opposes Markel’s motion.2

                                                            Undisputed Facts3

                      Robert and Ruth purchased a “Compass Boat Policy” from Markel which

             insured 20’ 999 Backcountry vessel, #BC1PG229H899, which policy was in full force

             and effect for the time period June 14, 2004 through June 14, 2005. This policy was

             in full force and effect on the date of the accident in question.




             the letters “Ex”. The letter following “Ex” shall refer to the specific exhibit in which the reference appears.

             2       Avery joins in the arguments made by the Stokys in their motion for summary judgment and will do her best to
             avoid duplication.

             3       Both Markel and the Stokys have filed statements of the undisputed facts. The statement of undisputed facts is
             drawn from each statement.
                                                                                                                                 2




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                   The accident occurred when Scott lost control of the insured vessel and ran the

             vessel into the mangroves, injuring both Scott and Avery. At the accident scene, Scott

             had a strong odor of an alcoholic beverage, bloodshot red eyes, mumbled confused

             speech and appeared to be impaired (Ex B). Scott and Avery were taken from the

             accident scene to Mariners Hospital in Tavernier, Florida. A blood sample, taken

             from Scott at Mariners Hospital revealed that Scott had a .197, blood alcohol level

             (Ex. B). This rendered him legally impaired. §327.35(1)(b), Fla. Stat.

                   Scott was charged with boating under the influence involving serious bodily

             injury to another (§327.35(3)(c)(2), Fla. Stat.), a third degree felony, and violation of a

             navigation rule resulting in an accident (§327.33(3)(a), Fla. Stat.), a second degree

             misdemeanor (Ex A, ¶13). He pled no contest to a charge of Boating Under the

             Influence with Personal Injury (§327.35(3)(c)(1)), a first degree misdemeanor (Ex. G).

                                                    Argument

                   The instant case is an action in admiralty since it involves the interpretation of a

             maritime insurance policy. Federal courts have long considered actions involving

             marine insurance policies to be within the admiralty jurisdiction of the federal courts

             and governed by federal maritime law. All Underwriters v. Weissberg, 222 F.3d 1309

             (11th Cir. 2000). Admiralty courts will generally look to appropriate state law in

             determining questions involving a marine insurance contract. Gulf Tampa Dry Dock

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             Co. v. Great Atlantic Ins., 757 F.2d 1172 (11th Cir. 1985). For this reason, this Court

             should look to Florida state law to govern the interpretation of the Markel policy since

             Florida has the most significant relationship to the policy in question.4

                      Section III of the Markel policy contains the following exclusion:

                                We do not pay for loss or damage caused by the dishonest
                                or illegal act of any Insured Person, any person to whom
                                your insured property is entrusted, or their employees or
                                representatives regardless of whether or not such person is
                                convicted of such act by criminal court.

                                                             (Emphasis Added).

             The term “illegal act” is undefined by the policy.5 Under Florida law, absent the

             definition of a term in a policy, the court may utilize the plain and generally accepted

             meaning of the term. Guideone Elite Insurance Company v. Old Cutler Presbyterian

             Church, Inc., 420 F.3d 1317 (11th Cir. 2005). The language used in an insurance

             policy is to be given its popular and usual significance. Rosen v. Godson, 422 F.2d

             1082 (5th Cir. 1970).6 In construing terms appearing in insurance policies, Florida

             courts commonly adopt the plain meaning of words contained in legal and non-legal


             4         Both Markel and the Stokys, in their respective memoranda utilize Florida law with regard to the interpretation
             of the insurance policy at issue.

             5         It should not be overlooked that Markel, as master of the language contained in its policy, could have put in a
             specific exclusion for criminal acts or for boating while intoxicated if it so chose. This court should not through the guise
             of contract interpretation, include that which Markel failed to include when it drafted the policy.

             6         Cases decided by the Former Fifth Circuit prior to October 1, 1980 are binding precedent in this circuit. Bonner
             v. City of Prtchard, 661 F.2d 1201 (11th Cir. 1981).
             .
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             dictionaries. Continental Casualty Company v. Wendt, 205 F.3d 1258 (11th Cir.

             2000); accord: Watson v. Prudential Property & Cas. Co., 696 So.2d 394 (Fla.

             3DCA 1996). The term “illegal” means “not legal, contrary to existing statutes,

             regulations, etc.” Webster’s New Universal Unabridged Dictionary (Barnes & Noble

             1994), or “not according to authorized by law, unlawful.” Webster’s 9th Collegiate

             Dict. (1989). Utilizing the foregoing dictionary definitions, the plain meaning of the

             term “illegal act,” means an act contrary to law. Thus, if the operation of the boat is

             violative of a Florida Statute, such operation is an illegal act within the Markel policy.



                   The operation of a boat either recklessly or carelessly violates §327.33, Fla.

             Stat., thereby rendering the reckless or careless operation of a boat illegal, although

             only reckless operation is a criminal offense. This statute states:

                   (1)    It is unlawful to operate a vessel in a reckless manner. A
                          person is guilty of reckless operation of a vessel who
                          operates any vessel, or manipulates any water skis,
                          aquaplane, or similar device, in willful or wanton disregard
                          for the safety of persons or property at a speed or in a
                          manner as to endanger, or likely to endanger, life or limb,
                          or damage the property of, or injure any person. Reckless
                          operation of a vessel includes, but is not limited to, a
                          violation of s.327.331(6). Any person who violates a
                          provision of this subsection commits a misdemeanor of the
                          first degree punishable as provided in s. 775.082 or s.
                          775.083.

                   (2)    Any person operating a vessel upon the waters of this state
                                                                                                     5




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                          shall operate the vessel in a reasonable and prudent manner,
                          having regard for other waterborne traffic, posted speed and
                          wake restrictions, and all other attendant circumstances so
                          as not to endanger the life, limb, or property of any person.
                           However, vessel wake and shoreline wash resulting from
                          the reasonable and prudent operation of a vessel shall,
                          absent negligence, not constitute damage or endangerment
                          to property. Any person who violates the provisions of this
                          subsection commits a noncriminal violation as defined in s.
                          775.08.

                   (3)    Each person operating a vessel upon the waters of this tate
                          shall comply with the navigation rules.
                          (a) A person whose violation of the navigation rules
                                 results in a boating accident, but whose violation did
                                 not constitute reckless operation of a vessel is guilty
                                 of a misdemeanor of the second degree, punishable
                                 as provided in s. 775.082 or s. 775.083.
                          (b) A person whose violation of the navigation rules
                                 does not result in a boating accident and does not
                                 constitute reckless operation of a vessel is guilty of a
                                 non-criminal violation as defined in s.775.08.
                          (c) Law enforcement vessels may deviate from the
                                 navigational rules when such diversion is necessary
                                 to the performance of their duties and when such
                                 deviation may be safely accomplished.

                                               (Emphasis Added)

             Subsection 2 of this statute applies the negligent operation of a boat and makes such

             operation a civil infraction. Thus the statute proscribes both reckless and negligent all

             aspects of the operation of a boat.

                   The coverage section of the policy, Section V entitled “Liability Coverage”

             provides the Stokys with the following coverage:
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                               We will pay damages for bodily injury or property damage
                               for which You become liable through ownership,
                               maintenance, or use of the Insured Property. This includes
                               liability for property damage to another vessel.

                                                           (Emphasis Added)

             The only way Scott could be liable is through the application of fault concepts which

             require either careless or reckless conduct on his part.7 As noted above, this is the

             very same conduct which is entirely excluded by the “illegal act” exclusion. In other

             words, the coverage afforded by the policy for bodily injury or property damages is

             entirely eliminated by the “illegal act” exclusion.

                      Under Florida law, when limitations or exclusions completely contradict the

             insuring provisions, insurance coverage becomes illusory. Purrelli v. State Farm Fire

             and Casualty Company, 698 So.2d 618 (Fla. 2DCA 1997); Northland Casualty

             Company v. HBE Corporation, 160 F.Supp.2d 1348 (M.D.Fla. 2001). In Purrelli the

             issue was whether an umbrella liability policy provided coverage for an invasion of

             privacy claim. That policy provided coverage for certain specified torts including

             invasion of privacy but excluded coverage for intended acts. In invalidating the

             exclusion, the court held:


             7         Avery’s position is buttressed by §327.33(3)(a), Fla. Stat. which makes a violation of a navigational rule a
             second degree misdemeanor. This subsection makes the negligent operation of a vessel a crime where the operation
             violates a navigation rule which results in a boating accident.
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                          Florida courts have recognized invasion of privacy to be an
                          intended tort. See Chase Manhattan Inv. Servs., Inc. v.
                          Miranda, 658 So.2d 181, 182 (Fla. 3DCA 1995)….Because
                          invasion of privacy can only be actionable if done
                          intentionally, State Farm’s insurance contract proving
                          coverage for invasion of privacy is, at best, unclear and
                          ambiguous….

                          Purrelli’s umbrella liability policy with State Farm is
                          ambiguous because the policy purports to provide coverage
                          for specified intentional torts, including invasion of privacy,
                          but attempts to limit coverage to accidents and exclude
                          intentional acts.

                                                 Id. at 620, 621.

             The Court determined the policy, at best, to be unclear and ambiguous since “an

             accident is by definition unintentional, an insurance contract that explicitly covers the

             intentional tort of invasion of privacy but limits coverage to “accidents” is ambigous.

             Id.

                   With regard to the proper interpretation of an exclusionary clause in an

             insurance policy, in State Farm Mutual Automobile Insurance Company v. Pridgen,

             498 So.2d 1245, 1248 (Fla. 1986), the Florida Supreme Court held:

                          Exclusionary provisions which are ambiguous or
                          susceptible to more than one meaning must be construed in
                          favor of the insured since it is the insurer who usually drafts
                          the contract.



             See also: Taurus Holdings, Inc. v. United States Fidelity & Guaranty Company, 913
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             So.2d 528 (Fla. 2005); Continental Insurance Company v. Roberts, 410 F.3d 1331

             (11th Cir. 2005). As the Eleventh Circuit held in Michigan Millers Mutual Insurance

             Corporation v. Benfield, 140 F.3d 915, 925 (11th Cir. 1998), a case decided under

             Florida law:

                            [A]mbiguities in exclusionary provisions must be construed
                            in favor of the insured usually drafts the policy. [Citations
                            Omitted]. “Florida law requires that we resolve a conflict
                            between the provisions of an insurance contract so as to
                            afford maximum coverage to the policyholder. This
                            principle applies with even grater force when the draftsman
                            of a form relies on inconspicuous language to defeat the
                            very purpose for which the policy was procured.” [Citations
                            Omitted].

             See also: Braley v. American Home Assurance Company, 354 So.2d 904 (Fla. 2DCA),

             cert. den., 359 So.2d 1210 (Fla. 1978); Weldon v. All American Life Insurance

             Company, 605 So.2d 911 (Fla. 2DCA 1992). Under these circumstances, construing

             the exclusion in favor of the Stokys as the insureds, the exclusion should apply only to

             willful or reckless type conduct which would exclude a conviction for boating under

             the influence causing damage to the person. This conclusion is drawn, by analogy,

             from those cases which indicate that the exclusion of coverage for driving a vehicle

             while intoxicated violates public policy. T.H.E. Insurance Co. v. Dollar Rent-A-Car

             Systems, Inc., 900 So.2d 694 (Fla. 5DCA 2000); P&H Vehicle Rental and Leasing



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           Corp.. v. Garner, 416 So.2d 503 (Fla. 5DCA 1982).8 There is no logical reason why

           the operation of a boat should be treated differently from the operation of a vehicle.

           Consequently, in interpreting the Markel policy, this court should not interpret the

           operation of a boat while under the influence to be excluded since such an exclusion is

           void as against public policy.

                    Reducing Purrelli to its lowest common denominator, a policy cannot provide

           coverage on one hand and take the coverage away with the other.9 Compare: Purelli,

           supra. (Exclusion invalid because coverage under policy is illusory where it

           completely voids the coverage afforded under the policy); with: Northland Casualty

           Company v. HBE Corporation, supra. (Coverage not illusory where it excluded

           intentional claims and certain but not all claims of unintentional discrimination).

           Since the illegal act exclusion in the Markel policy voids the entirety of liability

           coverage afforded by the policy, the exclusion is invalid because it renders the liability

           coverage illusory.10


           8         Also germane is the principle that one who is so heavily intoxicated as to be incapable of formulating the
           requisite intent may avoid application of a clause in an insurance policy barring coverage for injury occurring during the
           commission of a crime. Williams v. New England Mut. Life Ins. Co., 419 So.2d 766 (Fla. 1DCA 1982).

           9       Purrelli is not alone in reaching this conclusion. See: Lineberry v. State Farm Fire & Cas. Co., 885
           F.Supp. 1095, 1099 (M.D.Tenn. 1995); Mo. Intergovernmental Risk Magnt. Ass’n v. Gallagher Bassett Services Inc.,
           854 S.W.2d 565 (Mo.App. 1993).

           10        Markel’s analysis is not only grossly simplistic but entirely fails to consider the effect of the illegal act exclusion
           upon the liability coverage afforded under its policy. Markel’s position is that Scott was intoxicated when he operated
           the boat, operating a boat while intoxicated is illegal under Florida law, and therefore the exclusion is applicable. This
           position does not take into account that the exclusion completely voids coverage.
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                 The California Supreme Court considered an “illegal act” exclusion, similar to

           the one in the Markel policy, in Safeco Insurance Company of America v. Robert S.,

           26 Cal. 4th 758, 110 Cal.Rptr.2d 844, 28 P.3d 889 (2001), a case involving a

           homeowner’s policy. There a 16 year old believing a .22 calliber Beretta to be

           unloaded, pulled the trigger killing his friend. The minor was found guilty of

           involuntary manslaughter. Safeco denied coverage because the policy excluded

           coverage for an “illegal act.” As the California Supreme Court noted:

                        Relevant here are these policy provisions: Safeco agreed to
                        defend and indemnify the insureds in the event of claims
                        brought against any insured for bodily injury caused by “an
                        occurrence,” which the policy defined as an accident
                        resulting in bodily injury during the policy period.
                        Excluded from coverage coverage was liability for bodily
                        injury “arising out of any illegal act committed by or at the
                        direction of an insured.” (Italics Added.) The policy did
                        not define the term “illegal act.”

                          26 Cal.4th at 762, 110 Cal.Rptr. at 848, 28 P.2d at 893.

           The court found the phrase “illegal act” susceptible of two meanings, any act

           prohibited by law, or any criminal act. Noting that if Safeco wanted to exclude

           criminal acts from coverage, it could have inserted an exclusion for criminal acts, the

           California Supreme Court concluded it would not read into the policy what Safeco had

           omitted:

                        We now consider the Court of Appeal’s construction of the
                        term “illegal” as meaning violation of any law, whether
                                                                                               11




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                      civil or criminal. (See, e.g., Webster’s 9th New Collegiate
                      Dict. (1989) p. 599 [“not according to or authorized by law;
                      unlawful”]; Webster’s New World Dict. (2d college ed.
                      1982), p. 699 [“prohibited by law, against the law;
                      unlawful; illicit; also, not authorized or sanctioned, as by
                      the rules”]; Black’s Law Dict. (5th Ed. 1979) p. 673, Col. 2
                      [“’Law’ includes constitutional, statutory, and decisional
                      law”].) That construction, however, is so broad as to render
                      the policy’s liability coverage practically meaningless.

                      For instance, a violation of “any law” would include the
                      law governing negligence, which holds individuals
                      responsible for the failure to exercise ordinary care
                      resulting in injury to another. (Civ.Code, § 1714 [“Every
                      one is responsible .. for an injury occasioned to another by
                      his want of ordinary care or skill….”].) The duty to
                      exercise ordinary care is imposed by law. (See Sharon P. v.
                      Arman, Ltd. (1999) 21 Cal.4th 1181, 1188-1189, 91
                      Cal.Rptr.2d 35, 989 P.2d 121.) A violation of that duty is
                      therefore a violation of law. Broadly construed, a violation
                      of any law, whether civil or criminal, is an illegal act. An
                      insured’s negligent act, being a violation of law and
                      therefore an illegal act, would thus not be covered under
                      Safeco’s policy excluding coverage for an insured’s illegal
                      acts.

                      But the homeowners policy that the insureds have bought
                      from Safeco expressly provided that Safeco would defend
                      and indemnify them for bodily injury caused by “an
                      occurrence,” which the policy defines as “an accident …,
                      which results, during the policy period, in bodily injury or
                      property damage.” Because the term “accident” is more
                      comprehensive than the term “negligence” and thus
                      includes negligence (Black’s Law Dict., supra, at p. 14, col.
                      2), Safeco’s homeowners policy promised coverage for
                      liability resulting from the insured’s negligent acts. That
                      promise would be rendered illusory if, as discussed above,
                      we were to construe the phrase “illegal act,” as contained in
                                                                                      12




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                          the policy’s exclusionary clause, to mean violation of any
                          law, whether criminal or civil.

                            26 Cal.4th at 764-765, 110 Cal.Rptr. at 850, 28 P.2d at
                                                     894.

                                              (Emphasis Added)

           The court rejected the illegal act exclusion as invalid. The analysis applied by the

           California Supreme Court in Safeco is equally applicable to the case at bar. The

           illegal act exclusion contained in the Markel policy should be held invalid by this

           court.

                    In support of its argument, Markel relies upon Littlefield v. Acadia Insurance

           Company, 392 F.3d 1 (1st Cir. 2004), a case decided under New Hampshire law.

           Littlefield was concerned with the following exclusions:

                          Acadia asserted that it had no such obligation under two
                          separate provision of the yacht policy, the first contained in
                          Section B of the policy, which governs “Protection and
                          Indemnity Insurance,” and the second contained in Section
                          G, which sets forth “General conditions” applicable to the
                          entire policy. The provision in Section B excludes from
                          coverage “any loss, damage or liability willfully,
                          intentionally or criminally caused or incurred by an insured
                          person.” The provision in Section G excludes coverage for
                          “any loss, damage or expenses arising out of or during any
                          illegal activity on your part or on the part of anyone using
                          the insured’s property with your permission.”

                                                    Id. at 4.

           Littlefield would have some relevance to this case if the First Circuit had grounded its
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           decision on the exclusion relating to “illegal activity.” However, the opinion is based

           on the “criminal act” exclusion.          For this reason, the decision is clearly

           distinguishable.

                 Littlefield was found guilty by a jury of a Class B felony. The First Circuit

           determined that the criminal act exclusion was not ambiguous. It then concluded:

                        The exclusion provision thus unambiguously excludes
                        coverage for liability incurred by an insured person, such as
                        Littlefield, through the commission of a crime for which he
                        has been convicted-here, a felony-without regard to the
                        requisite mental state of the crime. A reasonable layperson
                        “in the position of the insured based on more than a casual
                        reading of the policy as a whole,” Brouillard, 693 A.2d at
                        66 (internal quotation marks and citation omitted), would
                        understand that proposition. Because we can conceive of
                        no other reasonable interpretation of the provision at issue,
                        we find no ambiguity in the policy provision that warrants
                        its being “construed against the insurer.” Fed. Bake Shop,
                        736 A.2d at 460.

                        Here, Littlefield was convicted of a crime; he thus “come[s]
                        directly within the purview” of the exclusion for
                        “criminally caused” loss or liability. Juniel, 931 P.2d at
                        514.

                                                   Id. at 8-9

           Littlefield is inapposite to and does not control the case at bar. First, the decision is

           bottomed upon a criminal act exclusion and not an illegal act exclusion. 11 Second,

           the court’s analysis of the “illegal act” exclusion is dependent on its determination that


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           the “careless and negligent” operation of a power boat is a misdemeanor under New

           Hampshire law. Id. at 11. However, under Florida law, the careless operation of a

           boat is not a criminal act but a civil infraction. §327.33(2), Fla. Stat. Third, the First

           Circuit rejected Littlefield’s reliance on Louisiana law which required that a

           “criminally caused injury must be at least intentional or willful in order to be

           excluded from coverage.” Id. at 10. Florida has expressly approved Lousiana law in

           this regard. Allstate Indemnity Company v. Wise, 818 So.2d 524 (Fla. 2DCA 2001),

           relying on: Sledge v. Continental Casualty Co., 639 So.2d 805, 812 (La.Ct.App.

           1994). For all of the foregoing reasons, Littlefield is inapposite to the case at bar.

                  Markel fares no better with its reliance upon Hrynkiw v. Allstate Floridian

           Insurance Company, 844 So.2d 739 (5DCA 2003). There the plaintiff alleged in his

           complaint that the insured willfully and intentionally committed a battery when he

           pointed a pistol at the plaintiff’s head and fired at close range. Id. at 741. At issue

           was the intentional or criminal act exclusion and the joint obligations clause. As

           Hrynkiw did not concern an “illegal act” exclusion, it has no application to the case at

           bar.

                                                               Conclusion

                  Based upon the foregoing cases and argument, Defendant MARLENA AVERY


           11     To the extent that the court in Littlefield discusses the “illegal act” exclusion, it is obiter dicta.
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           respectfully requests that this court determine that the illegal acts clause voids the

           liability coverage of the policy, thereby rendering the policy illusory, and invalidate

           that exclusion. Consequently summary judgment should be entered for all defendants

           and this court should determine that coverage is present under the Markel policy for

           the accident in question.

                 I HEREBY CERTIFY that a true and correct copy of the foregoing instrument

           was mailed to Steven E. Goldman, Esquire, GOLDMAN & HELLMAN, 315 SE 7th

           Street, Suite 200, Ft. Lauderdale, Florida, 33301, and hand delivered to T. Patrick

           Ford, Esquire, FORD, DEAN, & MALLARD, P.A., Two Datran Center, PH 1-C,

           9130 South Dadeland Boulevard, Miami, Florida, 33156, this 8th day of May, 2006.

                                            JAY M. LEVY, P.A.
                                            9130 South Dadeland Boulevard
                                            Two Datran Center, Suite 1510
                                            Miami, Florida 33156
                                            Telephone No: (305) 670-8100
                                            Facsimile No: (305) 670-4827

                                            BY:../s/Jay M. Levy……………….
                                                  JAY M. LEVY, ESQUIRE
                                                  FLORIDA BAR #: 219754




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